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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 (1) THE CHEROKEE NATION, et al.,

        Plaintiffs,

               v.                                        No. CIV-19-1198-D
 (1) J. KEVIN STITT,

        Defendant.


                 MOTION FOR LEAVE, NUNC PRO TUNC,
                     TO FILE AMENDED MOTION
       FOR PARTIAL SUMMARY JUDGMENT WITH BRIEF IN SUPPORT
       BY INTERVENOR-PLAINTIFF WICHITA AND AFFILIATED TRIBES

       Intervenor-Plaintiff Wichita and Affiliated Tribes (Wichita, Keechi, Waco, and

Tawakoni) ("Wichita Tribe"), pursuant to LCvR 7.1(k)(7), requests leave, nunc pro tunc,

to amend its Motion for Partial Summary Judgment with Brief in Support (Doc. 127) by

filing its Amended Motion for Partial Summary Judgment with Brief in support (Doc. 128).

                            REASON FOR AMENDMENT

       On May 22, 2020, the undersigned counsel filed Doc. 127. Shortly after filing,

counsel realized the filed motion unexpectedly exceeded the page limits established in the

case management Order (Doc. 122). Further investigation revealed incorrect typographic

settings in the brief that had caused the document to be larger than expected. Counsel

immediately undertook the task of correcting the settings and making additional revisions

to ensure the brief was within the page limits set by the Court's Order. Counsel aimed to

file the amendment immediately so Defendant's counsel would not experience any

prejudicial delay based on the need to amend. Roughly three hours later, counsel filed Doc.
128.


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                         CERTIFICATE OF NO OBJECTION
       On May 26, 2020, consistent with LCvR 7.1(k), the undersigned counsel contacted

Phillip Whaley, counsel for the Defendant, to inquire whether Defendant objected to the

filing of the amended motion. The undersigned also provided Mr. Whaley a redlined

comparison showing the textual changes between Doc. 127 and Doc. 128. Mr. Whaley

responded that there was no objection to the filing of the amended motion.



                                 RELIEF REQUESTED

       Accordingly, the Wichita Tribe asks the Court to enter an Order granting leave to

file, nunc pro tunc, and accepting for filing its Amended Motion for Partial Summary

Judgment with Brief in Support (Doc. 128), and striking its original Motion for Partial

Summary Judgment with Brief in Support (Doc. 127).



       WHEREFORE, the Wichita Tribe asks the Court to grant its motion for leave to file,

nunc pro tunc, its Amended Motion for Partial Summary Judgment with Brief in Support

(Doc. 128) and for such additional relief as is warranted.




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                             Respectfully submitted,

May 26, 2020                 HOBBS, STRAUS, DEAN & WALKER, LLP



                              By: /s/ Michael D. McMahan
                                  William R. Norman, OBA No. 14919
                                      wnorman@hobbsstraus.com
                                  Michael D. McMahan, OBA No. 17317
                                      mmcmahan@hobbsstraus.com
                                  W. Gregory Guedel, OBA No. 33317
                                      gguedel@hobbsstraus.com
                                  Zachary T. Stuart, OBA No. 32517
                                      zstuart@hobbsstraus.com
                                  101 Park Avenue, Suite 700
                                  Oklahoma City, Oklahoma 73102
                                  (405) 602-9425
                                  (405) 602-9426 fax

                             ATTORNEYS FOR INTERVENOR-PLAINTIFF
                             WICHITA AND AFFILIATED TRIBES




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                            CERTIFICATE OF SERVICE

I hereby certify that on May 26, 2020, a true and correct copy of the above and foregoing
with exhibits (if applicable) was served on the following via the Court's ECF system:

 Attorneys for Plaintiffs                      Attorneys for Defendant
 Douglas Endreson                              Daniel Webber, Jr.
 dendreson@sonosky.com                         dwebber@ryanwhaley.com

 Robert Henry                                  Jeffrey Cartmell
 rh@rhhenrylaw.com                             jeffrey.cartmell@gov.ok.gov

 Sara Hill                                     Mark Burget
 sara-hill@cherokee.org                        mark.burget@gov.ok.gov

 Frank Holleman                                Matthew Felty
 fholleman@sonosky.com                         mkfelty@lytlesoule.com

 Stephen Greetham                              Matthew Kane
 stephen.greetham@chickasaw.net                mkane@ryanwhaley.com

 Bradley Mallett                               Patrick Pearce, Jr.
 bmallett@choctawnation.org                    rpearce@ryanwhaley.com

                                               Phillip Whaley
                                               Pwhaley@ryanwhaley.com

                                               Steven Mullins
                                               mullins@lytlesoule.com


 Attorneys for Intervenor-Plaintiffs
 George Wright                                 Roger Wiley
 george.wright@potawatomi.org                  rwiley@mcnag.com

 Gregory Quinlan                               Leslie Taylor
 gquinlan@potawatomi.org                       leslietaylorlaw@gmail.com

 Charles Birnie                                Robert Rosette
 abirnie@cwlaw.com                             rosette@rosettelaw.com

 Robert Carter                                 Jason Aamodt
 dcarter@cwlaw.com                             jason@iaelaw.com

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Stephen Ward                            Matthew Alison
sward@cwlaw.com                         matthew@iaelaw.com

Stuart Campbell                         Dallas Dale Strimple
scampbell@dsda.com                      dallas@aamodt.biz

Brett Stavin                            Kyle Haskins
bstavin@rosettelaw.com                  khaskins@mcnag.com

Kaylee Davis-Maddy
kmaddy@dsda.com

                                        /s/ Michael D. McMahan
                                        Michael D. McMahan




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